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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF SOUTH CAROLINA
                          CHARLESTON DIVISION

United States of America      )       2:16-cv-1415-PMD
ex rel. Valerie Paquette      )
and Valerie Paquette          )
Individually,                 )          2:16-cv-1401-PMD
                              )
            Plaintiff,        )      FALSE CLAIMS ACT, AND INDIVIDUAL
                                          CLAIM UNDER 31 U.S.C. §
                                          3730(h)
                         )
     v.                  )           FILED IN CAMERA and UNDER SEAL
                         )          PURSUANT TO 31 U.S.C. § 3730(b)(2)
Charleston County School )                 (EXEMPT FROM ECF)
District,                )                JURY TRIAL DEMANDED
                         )
          Defendant.     )
                              )



I.     INTRODUCTION

   1. Plaintiff-Relator Valerie Paquette (“Paquette”) brings this
Complaint on behalf of the United States of America and herself
pursuant to the federal False Claims Act, 31 U.S.C. §§ 3729 et
seq. (2000) against Defendant Charleston County School District
(the “District”). The basis of the Relator’s and Paquette’s own
claims is to recover damages and civil penalties arising from
Defendant’s wrongful conduct in a false claims scheme that has
defrauded the United States Government of substantial federally
funded    monies  by   misrepresenting   students’  progress   and
attendance in the District. This in turn had the effect of
causing the District to be eligible for money and other benefits
to which they were not entitled under federal law, including the
No Child Left Behind Act and other federal educational programs.

II.    UNDERLYING POLICIES AND GOALS OF PUBLIC SCHOOLS

2. This case involves the false and misleading reporting of
certain grading and attendance policies of the District in the
2013-14 school year and continuing today. The Plaintiff contends
that grades and school attendance of students in the Charleston
County School District have been reported falsely, or not
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reported until after grades and attendance records have been
artificially raised through various means by administrators and
teachers in the District.
     3.   An informed and educated citizenry is a cornerstone of
democracy. It is critical that the public be confident that
graduates of South Carolina public schools meet valid and
objective criteria lest public trust in the school system be
eroded. Moreover, the policy of the United States Government is
that under-performing students, often those who are minorities,
not be passed along without fair effort being made to give them
the education they deserve. The goal of federal law is that all
children have a fair, equal, and significant opportunity to
obtain a high-quality education and reach including, at the
least, proficiency on challenging State academic achievement
standards and also State academic assessments. 20 U.S.C. § 6301.
This was the underlying policy of the No Child Left Behind Act,
20 U.S.C. §§ 6301 et seq. (2000), which was controlling law when
most of the acts and omissions set forth below occurred. These
same public policies continue today under successor legislation
to No Child Left Behind.

     4.   As shown by 20 U.S.C. § 6301(1)-(12), Congress believes
these goals can best be achieved by:

     (1) ensuring that high-quality academic assessments,
     accountability   systems,    teacher    preparation   and
     training, curriculum, and instructional materials are
     aligned with challenging State academic standards so
     that students, teachers, parents, and administrators
     can measure progress against common expectations for
     student academic achievement;
     (2) meeting the educational needs of low-achieving
     children in our Nation’s highest-poverty schools,
     limited   English    proficient    children,    migratory
     children, children with disabilities, Indian children,
     neglected or delinquent children, and young children in
     need of reading assistance;
     (3) closing the achievement gap between high- and low-
     performing children, especially the achievement gaps
     between minority and non-minority students, and between
     disadvantaged children and their more advantaged peers;
     (4) holding schools, local educational agencies, and
     States   accountable   for    improving    the   academic
     achievement of all students, and identifying and
     turning around low-performing schools that have failed
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     to provide a high-quality education to their students,
     while providing alternatives to students in such
     schools to enable the students to receive a high-
     quality education;
     (5) distributing and targeting resources sufficiently
     to make a difference to local educational agencies and
     schools where needs are greatest;
     (6)   improving    and   strengthening    accountability,
     teaching, and learning by using State assessment
     systems designed to ensure that students are meeting
     challenging State academic achievement and content
     standards and increasing achievement overall, but
     especially for the disadvantaged;
     (7) providing greater decision-making authority and
     flexibility to schools and teachers in exchange for
     greater responsibility for student performance;
     (8) providing children an enriched and accelerated
     educational program, including the use of schoolwide
     programs or additional services that increase the
     amount and quality of instructional time;
     (9) promoting schoolwide reform and ensuring the access
     of   children   to   effective,   scientifically    based
     instructional   strategies   and   challenging   academic
     content;
     (10) significantly elevating the quality of instruction
     by providing staff in participating schools with
     substantial opportunities for professional development;
     (11) coordinating services under all parts of this
     subchapter with each other, with other educational
     services, and, to the extent feasible, with other
     agencies providing services to youth, children, and
     families; and
     (12) affording parents substantial and meaningful
     opportunities to participate in the education of their
     children.

III. JURISDICTION AND VENUE

     5.   This Court has subject matter jurisdiction pursuant to
28 U.S.C. § 1331 (federal question) and 31 U.S.C. § 3732 (False
Claims Act jurisdiction).
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Venue is proper pursuant to 31 U.S.C. § 3732(a) which provides
that “[a]ny action under section 3730 may be brought in any
judicial district in which the defendant or, in the case of
multiple defendants, any one defendant can be found, resides,
transacts business, or in which any act proscribed by section
3729 occurred.”

     6.   The Charleston County School District is a school
district located in Charleston County, South Carolina. Venue is
proper in this District pursuant to 31 U.S.C. § 3732(a) because
Defendant Charleston County School District transacts business
primarily or solely in the Charleston Division, and numerous acts
proscribed by 31 U.S.C. § 3729 occurred in this District.

     7.   Ms. Paquette's claims and this Complaint are not based
upon prior public disclosures of allegations or transactions in a
federal criminal, civil, or administrative hearing in which the
Government or its agent is a party; in a congressional,
Government Accountability Office, or other federal report,
hearing, audit, or investigation; or from the news media, as
enumerated in 31 U.S.C. § 3730(e)(4)(A). To the extent that there
has been a public disclosure unknown to Plaintiff-Relator, she is
the "original source," and the public disclosure is a result of
Plaintiff-Relator voluntarily providing this information to the
United States prior to filing this qui tam action. 31 U.S.C. §
3730(e)(4)(B).

IV. ACCOUNTABILITY, PARTIES, AND IMPORTANT SCHOOL OFFICIALS

Accountability Issues

     8.   In 2002, the United States Government made certain
educational grants available to the States pursuant to 20 U.S.C.
§ 6311 (2000). However, for any State desiring to receive such a
grant, its State educational agency was required to submit to the
United States Secretary of Education (“Secretary”) a plan in
consultation with local educational agencies, teachers,
principals, pupil services personnel, administrators (including
certain administrators), other staff, and parents. The plan was
required to satisfy the requirements of § 6311 and be coordinated
with other programs under the chapter. See 20 U.S.C. §
6311(a)(1). Challenging academic standards were required, which
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had to be the same academic standards that applies to all schools
and children in the State. South Carolina, upon information and
belief, received federal grants under this section. Certain
school districts, including the Charleston County School
District, received federal funds, but did not comply with rules
and regulations required by Congress.

     9.   Central to achieving Congress’ goals for its
educational grants is accountability.1 See, e.g., 20 U.S.C. §
6301(1), (4), (6). Accordingly, under 20 U.S.C. § 6311,
accountability requirements for participating public schools were
mandated. The State had to show that it has “developed and is
implementing a single, statewide State accountability system that
will be effective in ensuring that all local educational
agencies, public elementary schools, and public secondary schools
make adequate yearly progress as defined under this paragraph.”

     10. The accountability system required that “sanctions and
rewards, such as bonuses and recognition, [be used by] the State
. . . to hold local educational agencies and public elementary
schools and secondary schools accountable for student achievement
and for ensuring that they make adequate yearly progress in
accordance with the State’s definition . . . .” 20 U.S.C. §
6311(b)(2)(A).

     11. Among other things, each State receiving federal grants
was required to have an approved plan for determining students’
adequate yearly progress (“AYP”). AYP must be “defined by the
State in a manner that (i) applies the same high standards of
academic achievement to all public elementary school and
secondary school students in the State; and (ii) is statistically
valid and reliable . . . .” § 6311(b)(2)(C) (emphasis added).



         1

According to the United States Department of Education’s webpage on accountability, “[s]chools that do not make
progress must provide supplemental services, such as free tutoring or after-school assistance; take corrective actions;
and, if still not making adequate yearly progress after five years, make dramatic changes to the way the school is
run.” Cf. U.S. Department of Education Takes Enforcement Against Two School Ownership Groups (U.S. Dept. Of
Education, Press Release, Feb. 1, 2016).
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     12. The Act further required each State plan to contain
assurances that the State educational agency met the requirements
of subsection (h)(1) of § 6311. Penalties were authorized by the
Secretary, and other assurances and reviews were mandated.
However, accuracy of the State’s assurances, representations, and
certifications as to whether the federal grants were being spent
and implemented properly depended on the data supplied by the
Districts’ teachers, administrators, and superintendents.
Similarly, whether these persons were entitled to bonuses,
awards, or even to retain their jobs with money paid by federal
grants depended on the accuracy and truthfulness of the grades,
attendance, and other criteria by which their schools were
evaluated.

     13. False and misleading reporting of students’ grades and
attendance runs directly contrary to federal accountability
requirements. False and misleading reports of students’ grades
and attendance violates clear federal policy as set forth in
several statutes, including, inter alia, 20 U.S.C. § 6301(1),
(12) (2000), federal regulations, executive orders by the
President, and statements by the Secretary of Education.

Parties and the Major Actors Involved

     14. The Plaintiff is an individual, citizen, and resident
of Charleston County, State of South Carolina, employed as a
teacher. She was a contract teacher in the Charleston County
School District at North Charleston High School in the 2013-2014
year. North Charleston High School is a public school operated by
and within the Defendant District in Charleston County, South
Carolina.

     15. The District is a governmental entity and a division of
the State of South Carolina, located in Charleston County.

     16. Robert Grimm was and is at all times relevant the
Principal of North Charleston High School, an employee and
administrator for the Defendant District, and the direct
supervisor of the Plaintiff Valerie Paquette. By virtue of his
position as Principal of North Charleston High School, Grimm was
responsible for managing his employees, and setting policies for
his school and teachers to achieve specific, verifiable
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improvements as set forth in his employment contract and job
description and, more generally, to also stop his at-risk school
from persistently failing in its duties to educate its students.
He had been hired specifically for these purposes.

     17. Grimm was at all times responsible for complying with
all federal laws regarding grants of money received by and used
by North Charleston High School, as well as the accuracy of its
educational and attendance records.

     18. James Winbush was at all times relevant an employee,
administrator, and Associate Superintendent of the District, and
also the supervisor of Principal Robert Grimm and Valerie
Paquette. As with Principal Grimm, Mr. Winbush’s job duties
included responsibility for motivating his employees and setting
forth and approving policies for the schools and teachers under
his supervision; to implement and achieve specific, verifiable
improvements in education set forth in his employment contract
and job description; and also to improve the at-risk schools
under his supervision so that their persistent failures to
educate and graduate students would end.

     19. Winbush was responsible for ensuring compliance with
all laws regarding federal educational grants of money received,
spent, and used by North Charleston High School and other
District schools over which he acted as Associate Superintendent,
responsibility for ensuring compliance with all federal laws
regarding grants of money received by and used by North
Charleston High School, as well as the accuracy of its
educational and attendance records.

     20. At all times relevant hereto, Nancy McGinley was a
District employee, Superintendent, and the Chief Operating
Officer of the Defendant District. In this capacity, she was the
supervisor of James Winbush, Robert Grimm, of the Plaintiff, and
all other employees in the District. By virtue of her position as
Chief Operating Officer and School Superintendent of Charleston
County Schools, McGinley set and implemented official policies
designed to end the failures of the at-risk schools and to have
them reach acceptable educational standards. Furthermore,
McGinley was at all times responsible for ensuring that all
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federal laws regarding expenditures of federal educational grants
of money received and spent by the District be complied with.

V.   PRESSURE ON SCHOOL ADMINISTRATORS IN THE DISTRICT TO REMEDY
PERSISTENTLY FAILING SCHOOLS

     21. In July of 2012, North Charleston High School was one
of only seven high schools in the entire State of South Carolina
rated as a "persistently failing" school by the South Carolina
Department of Education. This school had been declared an "at
risk" school for at least eight consecutive years, with North
Charleston High School having an "on time Graduation Rate of
43.5%" and an "End of Course Pass Rate of 37.8%."

     22. On Sunday, July 8, 2012, Nancy J. McGinley, was quoted
in the Charleston Post and Courier Newspaper as saying, "[t]he
District has cut in half its at risk schools since 2007, and that
kind of success can happen for Burke High School and North
Charleston High. My prediction is we're going to see greater
progress."

     23. On August 9, 2012, the District entered a "Professional
Employment Agreement" (the “Agreement”) hiring Robert Grimm to be
the Principal of North Charleston High School. The Agreement
included a specific provision that the District would pay a
goals-based bonus if Grimm achieved results in five categories.
These categories included the categories of (A) "EOC – Percentage
passing End of Course Tests," which is the percent of passing
scores (70 or higher) on all End of Course Tests administered at
North Charleston High School, and (B) "Grad – On-time Graduation
Rate," which is the percentage of students enrolled on the 45th
day of school as a first-time ninth grader who earns a standard
high school diploma within four years.” Principal Grimm’s
Agreement also provided that each year he would earn 20% of the
total bonus of each of the five categories, in which the goal is
achieved, including $15,000.00 for the school year 2013-2014. The
bonuses were to be paid out once the District had sufficient data
to measure the results. Upon information and belief, federal
funds were used directly or indirectly to fund the bonuses.

     24. The "EOC – Percentage Passing End of Course Tests" and
"Grad – On Time Graduation Rate" at all times relevant hereto
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were and are also used to calculate the "Absolute Rating" for all
public high schools on the South Carolina School Report Cards
published annually by the South Carolina Department of Education,
which had labeled North Charleston High School as an "at risk"
school.

VI. GRADE AND ATTENDANCE MANIPULATION BY THE DISTRICT

     25. Upon information and belief, during the academic school
year 2013-2014, and at all times relevant hereto, the District
and Robert Grimm, in his capacity as Principal of North
Charleston High School; James Winbush, in his capacity as the
direct supervisor of Robert Grimm; and Nancy McGinley, as
Superintendent and CEO of the Defendant District and the direct
supervisor of James Winbush, maintained policies at North
Charleston High School that did not allow any teacher to give a
student a grade below 61, no matter how little work a student
did, no matter how poorly a student performed in his or her
course work, and no matter how little effort a student made.
Other schools in the District also followed similar measures.

     26. This was done by McGinley, Winbush, Grimm, and the
District in violation of federal accountability requirements.

     27. Upon information and belief, during the academic school
year 2013-2014 at North Charleston High School, another policy,
this one dealing with absences from school, was being implemented
by Robert Grimm as Principal and permitted by James Winbush as
Robert Grimm’s supervisor and Nancy McGinley as Superintendent of
the Defendant District. This policy permitted students to earn a
high school diploma and graduate, even if they had more than ten
absences from school, by enabling virtually any kind of absence
to be an “Excused Absence” even when the absence did not entitle
the student to have an “Excused Absence,” as well as to maintain
a Policy of overlooking it when a student had more than ten
absences for any reason from an academic course. Other schools in
the District were allowed to follow similar measures.

     28. This was done by McGinley, Winbush, Grimm, and the
District in violation of federal accountability requirements.
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     29. The policies were disseminated from these and other
administrators by way of written instructions and oral
instructions that still continue.

     30. Another means of grade manipulation involved a computer
program called Edgenuity. Upon information and belief, by
maintaining the policies as set forth above, the Defendant
District enabled Grimm to be able to manipulate the graduation
rate of students at North Charleston High School in June of 2014,
because if a student failed to receive a passing grade on his or
her regular class work, the student could enroll in a program
after Thursday, May 29, 2014 at 4:00 pm, when final grades were
to be due and posted, including an Edgenuity course, which is an
on-line course administered by school employees. Despite the
student previously having done little or no work, made little or
no effort, and having scored below 61 in total actual grades
earned on tests, quizzes, and projects, he might still pass the
course via the Edgenuity program and other measures such as the
District ignoring the mandatory requirements to attend a certain
number of classes. This in turn allowed students to graduate from
high school when they had not passed the required courses or
attended school the required number of days.

     31. Upon information and belief, as a direct and proximate
result of these grade and attendance manipulations, one or more
students who still had failing grades and not had met the
attendance requirements by the school’s reporting deadline of
Thursday, May 29, 2014 at 4:00 pm. in English Four, and in
Integrated Business Applications had their grades changed to
passing by Wednesday, June 4, 2014 in time to be able to
graduate.

     32. It is against the public policy of the State of South
Carolina and is a matter of public concern for a teacher to
return a final exam after the end of an exam period so that the
student could complete additional questions that had been left
blank and resulting in a final grade being increased for that
student after the grading deadline.

     33. In addition to being pressured herself, the Plaintiff
has seen other teachers pressured by Grimm to change grades or
take other measures to allow failing students to graduate. The
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policies, practices, and rules requiring teachers to give grades
of at least 61 to students who had lower grades, and the other
“remedial” measures such as the on-line courses designed to pass
students who had not attended class, were made known to teachers
in the Plaintiff’s school. The requirement to raise any grade
below 61 up to a grade of 61 was set forth in the Teacher’s
Manual. The District’s requirement of artificially raising grades
continues even today.

VII. PAQUETTE’S ATTEMPTS TO REPORT THE WRONGDOING

     34. An incident occurred between the Plaintiff and
Principal Grimm at the end of the 2013-14 school year. Grimm
pressured the Plaintiff to assist him in graduating a student who
was not entitled to graduate. She refused to do so and was
greatly shaken by the encounter.

     35. Following the incident, the Plaintiff notified Nancy
McGinley on June 3, 2014 in McGinley's capacity as Superintendent
of the District, by way of an email from the Plaintiff’s home
computer and sent on a day on which she was not teaching or on
school grounds, of her grave concerns that on June 4, 2014, the
graduation date for North Charleston High School, at least one
student was given his final exam back so that he could complete
additional questions that had been left blank during the test and
that this additional work resulted in a grade being changed to
passing after the deadline; that at least one student who failed
the year was allowed to enroll in a computer class and pass a
year-long class/course based on alleged online work which
allegedly took place entirely during the weekend before
graduation; and that a student who failed her class was at
graduation practice.
     36. On Wednesday, June 4, 2014, the Plaintiff notified the
members of the Charleston County School Board of Trustees that
she had evidence of students graduating North Charleston High
School who did not fulfill the aforementioned grade and
attendance requirements to graduate.

     37. The purpose of the Plaintiff’s emails was to resist
what she perceived was improper pressure to graduate a student
who did not deserve to graduate and to expose other improper
practices by the District’s administrators of raising grades and
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manipulating attendance records of students who were not entitled
to graduate and thereby receiving personal gain in the form of
bonuses and job security. A truthful and accurate copy of her
emails to the District CEO McGinley and the Board of Trustees is
attached as Exhibit A.

     38. On June 4, 2014, as a direct and proximate result of
her incident with Principal Grimm, the Plaintiff received a
written Formal Reprimand from him dated June 2, 2014, alleging
violations of Charleston County School District Policy GBE
Employee Rights and Responsibilities. See Exhibit B.

     39. Grimm falsely accused the Plaintiff of creating a tense
situation, lying to him, not following his directives, and
presenting herself in an inappropriate and unprofessional light.
Grimm further expressed displeasure at the Plaintiff for speaking
to a fellow employee about pressure put on the Plaintiff by Grimm
to help graduate a student without proper credentials to
graduate, even though this type speech is permitted by the school
policy attached to his Formal Letter of Reprimand.

     40. Grimm further wrote in his Formal Reprimand that
another infraction “will” result in further consequences, up to
and including suspension or dismissal. Grimm sent copies of his
June 2, 2014 Formal Reprimand to the District’s Department of
Employee Relations and put a copy in her personnel file.

     41. If Grimm’s Formal Letter of Reprimand were not enough,
on August 4, 2014, as a direct and proximate result of her
reporting the District’s misconduct, the Plaintiff received a
second Formal Written Reprimand from Nancy McGinley in her
capacity as Superintendent of the District dated July 23, 2014,
excoriating the Plaintiff for her whistleblowing actions.

     42. Among McGinley’s allegations were that the Plaintiff
was insubordinate, and that after a thorough investigation, the
Plaintiff’s claims of misconduct were unsubstantiated. McGinley’s
reprimand further accused the Plaintiff of making false
statements in a letter to the Board of Trustees, violating the
Policy of Employee Conduct, irresponsibility, and actions
inconsistent with school policy. Moreover, McGinley alleged that
had the matter occurred while her teaching contract was in force
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(McGinley’s letter was written during the summer), she “would”
have been immediately suspended or fired. McGinley ended the
reprimand by threatening that “[y]ou are on notice, effective
today, that a future incident will result in further disciplinary
action, up to and including suspension or dismissal.” See Exhibit
C, Nancy McGinley’s Formal Letter of Reprimand at 2 (July 23,
2014) (emphasis added).

     43. McGinley further claimed that the Plaintiff violated
Charleston County School District Policy GBE Employee Rights and
Responsibilities by failing to “follow the chain of command to
resolve personnel and operational issues” rather than contacting
the Charleston County School Board. However, Policy GBE Employee
Rights and Responsibilities specifically sets forth a broad
contractual privilege for teachers in this regard, namely “No
employee of [sic] Charleston County School District may be
penalized, harassed or disciplined in any way for having filed
charges, testified, assisted or participated in any manner in any
investigation, proceeding or lawsuit; [sic] or having
communicated in any way with any public official or member of the
press or member of the public.” CCSD Policy GBE Employee Rights
and Responsibilities at 1 (emphasis added).

     44. No actions have been taken against McGinley, Winbush,
or Grimm for harassment, penalization, and constructive demotion
of the Plaintiff.

     45. McGinley’s Formal Letter of Reprimand was put in the
Plaintiff’s personnel file, where it may be reviewed by any
person seeking to hire her at a job in the Charleston County
School District where the Plaintiff lives with her family.

     46. Additionally, copies of McGinley’s reprimand were sent
to Associate Superintendent James Winbush, Robert Grimm, the
Department of Employee Relations, and also placed in her
employment file.

     47. Despite the two Formal Reprimands placed in her file,
on August 4, 2014, the Plaintiff received a third written Formal
Reprimand from James E. Winbush, in his capacity as Associate
Superintendent of the Defendant District, wrongfully, falsely and
libelously accusing the Plaintiff of wrongdoing. See Exhibit D.
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     48. Specifically, Winbush accused the Plaintiff of
insubordination and a pattern of “doing what you want to do”
despite directives from Grimm, and put her on notice that a
future incident could subject her to further discipline, up to
and including suspension or termination.

     49. Other than a brief mention of a transfer, the third
Formal Reprimand stated essentially the same complaints as the
first two Formal Reprimands and thus reinforced the District’s
disdain for the Plaintiff.

     50. Winbush’s Formal Reprimand was sent to Associate
Superintendent Paul Padron, Robert Grimm, Joseph Williams (who
was principal of the middle school where she was being
transferred), and her employee personnel file. Attached to the
Formal Reprimand was a copy of Policy GBE Employees’ Rights and
Responsibilities.

     51. The Plaintiff has never been informed that her Formal
Letters of Reprimand were removed, and she believes that they are
still in her file continuing to cause injury to her reputation
and available to principals and other administrators within the
District.

     52. Upon information and belief, the standard practice for
hiring teachers within the District is for the principal or other
hiring administrator at the school where a teacher is applying
for work to solicit information from the principal at the school
where the teacher is currently employed. The teacher’s personnel
file is examined by the hiring principal also. The teacher may be
interviewed at some point in the process.

     53. Since the three Formal Letters of Reprimand have been
put in the Plaintiff’s file, she has applied for numerous jobs.
Each attempt at employment follows a similar pattern: the
Plaintiff gets a good initial reaction from the principal/hiring
administrator. Thereafter, she later delivers a thank-you note at
the school. However, the Plaintiff typically gets no further
communications from the school in response to her calls, emails,
and notes, even from principals and hiring administrators she has
known and with whom she has enjoyed cordial relations over the
years.
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     54. This same pattern has emerged with interviews at almost
every other school at which she applied.

     55. Since the three formal reprimands were put into her
file, the Plaintiff applied for work at numerous schools in the
area where she resides (Awendaw, South Carolina) including Jennie
Moore Elementary School, Sullivan's Island Elementary School,
East Cooper Montessori School, James Simons Elementary School,
Moultrie Middle School, Wando High School, Belle Hall Elementary
School, James Simons Montessori School, Stono Park Elementary,
Murray-Lasaine Elementary School, and the School of the Arts.
None of the schools would hire her.

     56. The Plaintiff has experience in how the Charleston
County School District and its hiring practices operate. Based on
her knowledge, experience, and the facts at hand, she believes
that as a direct and proximate result of the Defendant’s actions,
she has been greatly impaired in her career. While she is still
employed as a teacher in the district, with the same pay given to
teachers with her years of experience, she has been denied the
ability to move to other schools, including those with a better
school environment, where she would like to teach.
     57. Although her teaching certificate entitles her to teach
in any elementary, middle, and high school in the county,
principals who are interested after her hiring interview become
disinterested when they check her employment file.

     58. As a practical matter, the Plaintiff is greatly
restricted in obtaining employment opportunities at other schools
of her choosing. The Plaintiff is no longer at the same status as
all other teachers in the district with her same level of
experience. She is being denied the options offered to all other
teachers of good standing in the District and believes she is
trapped in her current position until she retires. The Plaintiff
has focused her job search in the East Cooper area because it is
much closer to her home. Employment there would allow more time
at home with her family, which is very important to her. Such a
move would benefit her both financially and from a quality of
life standpoint, but no school to which she has applied in the
East Cooper area will accept her.
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     59. The Plaintiff has invested thousands of dollars to
expand her teaching certificate to include elementary education.
She also might wish to pursue an administrative certificate in
the future; however, she currently is being hampered in her
ability to pursue an administrative position with three Formal
Reprimands in her file.

     60. The Letters of Reprimand which the Plaintiff received
from Robert Grimm, the Principal of North Charleston High School
and James Winbush, the Associate Superintendent of the District,
as above stated, each misrepresented the truth by stating that
the Plaintiff was "unprofessional."

     61. On July 23, 2014, Nancy J. McGinley wrote a letter
falsely accusing the Plaintiff of "insubordination" and of making
false statements, and that this letter of July 23, 2014 was
published to others and made part of the permanent personnel file
of the Plaintiff within the District, which has damaged the
reputation of the Plaintiff for fitness in her profession, and
has kept the Plaintiff from professional advancement.

     62. The above stated false and libelous written statements
were made with malice in retaliation for the Plaintiff bringing
forth concerns she had in good faith about wrongdoing done by and
on behalf of the administrative personnel of the Defendant
District, and the District failed to adequately address matters
of public concern that the District wanted to suppress by
intimidating the Plaintiff and others from exposing the misuse of
substantial public funds and resources.

     63. The publication of the false statements as above stated
have directly and proximately injured the Plaintiff's reputation
for fitness in her profession.

     64. The placing of the Formal Reprimands in the Plaintiff’s
personnel file by her direct supervisors, Robert Grimm, James
Winbush, and Nancy McGinley, constructively demoted and changed
the employment status of the Plaintiff because, before the
placement of such Formal Reprimands in her personnel file, the
Plaintiff was eligible by her teaching certifications for
transfers or changes in her employment opportunities or place of
employment, but that she no longer has the ability after
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placement of such Formal Reprimands in her personnel file.

     65. The Plaintiff is no longer in the same employment
position now as she was prior to the reprimands in her personnel
file.

                   VIOLATION OF 31 U.S.C. § 3729
                          FALSE CLAIMS ACT

     66. Relator Valerie Paquette re-alleges and incorporates by
reference each of the allegations in the preceding paragraphs as
though fully set forth below.

     67. The Defendant has knowingly and willfully, in violation
of the False Claims Act:

    (a) presented, or caused to be presented, false or
    fraudulent claims for payment to or approval by the United
    States in the form of educational records showing students’
    attendance and academic progress inflated far above their
    true levels;

     (b) made, used, or caused to be made or used, a false record
     or statement material to a false or fraudulent claim; and
     stated false claims to the United States Government in order
     to receive federal funds in the form of educational grants
     and other money, which directly and proximately resulted in
     substantial money and benefits to the District and its
     employees to which there were not entitled.

                 VIOLATION OF 31 U.S.C. § 3730(h)
            FOR RETALIATING AGAINST PLAINTIFF-RELATOR


     68. Valerie   Paquette   re-alleges  and   incorporates  by
reference each of the allegations in the preceding paragraphs as
though fully set forth below.

     69. The Plaintiff’s aforementioned injuries and damages
were directly and proximately caused by the retaliatory actions
taken by the District and are in direct violation of 31 U.S.C. §
3730(h), which provides that “[a]ny employee, contractor, or
agent shall be entitled to all relief necessary to make that
employee . . . whole, if that employee . . . is discharged,
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demoted, suspended, threatened, harassed, or in any other manner
discriminated against in the terms and conditions of employment
because of lawful acts done by the employee . . . in furtherance
of an action under this section or other efforts to stop one or
more violations of this subchapter.”



                                  PRAYER

    WHEREFORE, Plaintiff-Relator on behalf of herself and the
United States, pursuant to 31 U.S.C. § 3730 prays:

          (1)   That Defendant cease and desist from violating the
                federal False Claims Act, 31 U.S.C. § 3729 et
                seq. by its unlawful purposes against the United
                States and the Plaintiff Paquette.
          (2)   That this Court enter judgment against Defendant:
          i. Awarding an amount equal to three times the damages
            that the United States has sustained because of
            Defendant’s conduct, plus prejudgment interest and
            civil penalties of at least $5,000 to $10,000, with
            penalties adjusted upwardly as specified by
            applicable law, for each act in violation of 31
            U.S.C. § 3729(a)(1);
          i. Awarding Plaintiff-Relator the appropriate bounty
            as supported by 31 U.S.C. § 3730; and
          ii. Awarding Plaintiff-Relator attorneys' fees and
            costs of this action, with interest, including the
            costs to the United States for its expenses.
         (3) That Defendants disgorge all sums by which they
         have been unjustly enriched by their wrongful conduct;

         (4) That Plaintiff-Relator receive special damages,
         costs, and attorneys' fees, pursuant to 31 U.S.C. §
         3730(h);
         (5) That the United States and Plaintiff-Relator
         receive all relief, both at law and at equity, to which
         they may reasonably be entitled; and
         (6) That the Court order such further relief as it
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      deems just and proper.


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                                   ATTORNEYS FOR RELATOR-PLAINTIFF

Date:   May 3, 2016

Charleston, South Carolina
